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               EXHIBIT 1
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 1                                                     I.

 2                                            INTRODUCTION

 3           On or about April 30, 2019, Mr. Sao was hired by Kelly Services USA, LLC and

 4    immediately assigned to work as a Medical Assembler with Phillips-Medisize Costa Mesa LLC.

 5    California. In or around June of 2019, Kelly and Phillips hired Mr. Michael Velasquez who was

 6    friends with Mr. Sao. Two weeks after Mr. Velasquez started working for Kelly and Phillips, Mr.

 7    Sao became knowledgeable that Mr. Velasquez was being subjected to severe racial discrimination

 8    and harassment by his co-workers. Mr. Sao encouraged Mr. Velasquez to complain to a supervisor

 9    about the harassment which Mr. Velasquez did on numerous occasions.

10           On the afternoon of July 2, 2019, Mr. Velasquez found a cell phone on the ground. On his

11    way home, Mr. Velasquez was confronted by a Hispanic man who accused Mr. Velasquez of

12    stealing his phone. Mr. Sao witnessed the exchange including, the Hispanic gentlemen calling Mr.

13    Velasquez the N-word and threatening to physically assault Mr. Velasquez at work the next day.

14           On July 3, 2019, Donna Tran emailed Mr. Sao to inform him she was conducting an

15    investigation into Michael Velasquez. Mr. Sao was instructed by email not to return to work

16    because two men were being investigated for stealing the phone. Mr. Sao denied stealing the

17    phone and confirmed the phone was returned to the Hispanic man. Mr. Sao reported the racial

18    discrimination and harassment Ms. Tran.

19           On July 3, 2019, Ms. Tran contacted Mr. Sao to terminate his employment with Phillips

20    without cause.    Ms. Trans’ accusations against Mr. Sao were simply a pretext to end his

21    employment. The actual reason Mr. Sao was terminated was because he reported racial harassment

22    and discrimination.

23                                                     II.

24                                    PARTIES AND JURISDICTION

25           Plaintiff, SOCHETRA SAO, is informed and believes, and alleges thereon, the following:

26           1.      Plaintiff, SOCHETRA SAO (hereinafter “Plaintiff”) is, and at all times mentioned

27    herein, a resident of the County of Los Angeles, and is a citizen of the State of California. At all

28    times mentioned herein, Plaintiff is and was engaging in a protected activity.

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 1           2.      Plaintiff is informed and believes, and thereon alleges that the acts pleaded herein

 2    were committed against him in the City of Costa Mesa, in Orange County, California.

 3           3.      Plaintiff is informed and believes, and thereon alleges that Defendant KELLY

 4    SERVICES USA, LLC, a Michigan Corporation, (hereinafter referred to as “KELLY”) is a

 5    California Corporation located at 790 The City Drive South, Suite 150, Orange, California 92868.

 6    The agent for service of process in California is identified as Kelly Services USA LLC, 999 W. Big

 7    Beaver Rd., Suite 601A, Troy, MI 48084.

 8           4.      Plaintiff is informed and believes, and thereon alleges that Defendant PHILLIPS-

 9    MEDISIZE COSTA MESA, LLC, a Delaware Corporation, (hereinafter referred to as

10    “PHILLIPS”) is a California Corporation located at 3545 Harbor Avenue, Costa Mesa, California

11    92626. The agent for service of process in California is identified as Phillips-Medisize Costa Mesa,

12    LLC, 818 West Seventh Street, Suite 930, Los Angeles, California 90017.

13           5.      The true capacities of DOES 1 through 10, inclusive, whether individual, corporate,

14    associate, or otherwise, are unknown to Plaintiff who therefore sues said Defendants by such

15    fictitious names. At all relevant times herein, each of the fictitiously-named Defendants was an

16    employee, agent, servant, partner, member, shareholder, officer, director, managing agent, joint

17    venture, co-conspirator, or alter ego of Defendants, and was acting within the course and scope of

18    such agency or employment.

19           6.      Each of the fictitiously-named Defendants is responsible for the wrongful acts

20    alleged herein, and that Plaintiff’s damages, as alleged herein, were proximately caused by such

21    Defendants. Plaintiff will amend this Complaint to show the true names and capacities of said

22    Defendants when they have been ascertained.

23           7.      As used herein, the term “'Defendants” means all Defendants, both jointly and

24    severally, and references by name to any named Defendant shall include all Defendants, both

25    jointly and severally. Plaintiff is further informed and believes and thereon alleges that Defendants

26    were acting within the purpose and scope of their agency and employment and with the knowledge

27    and consent of each other.

28    ///

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 1           8.        Pursuant to Cal. Gov’t Code § 12960 et seq., Plaintiff filed a retaliation charge

 2    against Defendant with the California Department of Fair Employment and Housing (DFEH) on

 3    May 21, 2020, less than three years from the date of most recent wrongful act (constructive

 4    termination.)

 5           9.        On May 21, 2020, Plaintiff received a Notice of Case Closure and Right to Sue

 6    Letter from the DFEH satisfying all administrative requirements necessary to proceed with the

 7    filing of this lawsuit in Superior Court.

 8                                                    III.

 9                                        FACTUAL ALLEGATIONS

10           10.       On or about April 30, 2019, Plaintiff was hired by Kelly and immediately assigned

11    to work as a Medical Assembler with Phillips in Costa Mesa, California. In or around June of

12    2019, Kelly and Phillips hired Mr. Michael Velasquez who was friends with Plaintiff. Two weeks

13    after Mr. Velasquez started working for Kelly and Phillips, Plaintiff became knowledgeable that

14    Mr. Velasquez was being subjected to severe racial discrimination and harassment by his co-

15    workers. Plaintiff encouraged Mr. Velasquez to complain to a supervisor about the harassment

16    which Mr. Velasquez did on numerous occasions.

17           11.       On the afternoon of July 2, 2019, Plaintiff was given permission by Richard Prado

18    to leave work early because he was ill and Mr. Velasquez went with Plaintiff. On the way to

19    Plaintiff’s vehicle, Mr. Velasquez found a cell phone on the ground. Mr. Velasquez picked it up so

20    that it did not get damaged and intended to return it to management the next day. On his way

21    home, Mr. Velasquez was confronted by a Hispanic man who accused Mr. Velasquez of stealing

22    his phone.      Plaintiff witnessed the exchange including, the Hispanic gentlemen calling Mr.

23    Velasquez the N-word and threatening to physically assault Mr. Velasquez at work the next day.

24           12.       On July 3, 2019, Donna Tran emailed Plaintiff to inform him she was conducting an

25    investigation into Michael Velasquez. Plaintiff was instructed via email not to return to work.

26    Plaintiff called Ms. Tran requesting additional information - Plaintiff was told that the two men

27    were being investigated for stealing the phone. Plaintiff denied stealing the phone and confirmed

28    the phone was returned to the Hispanic man.            Plaintiff reported the racial harassment and

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 1    discrimination to Ms. Tran On July 3, 2019, Ms. Tran contacted Mr. Sao to advise him his

 2    assignment with Phillips was finished.

 3           13.     Phillips and Kelly are considered joint employers and are responsible for providing

 4    Plaintiff with a safe working environment. Both failed in that endeavor. Additionally, Kelly’s

 5    failure to find Plaintiff a new assignment is in retaliation for his complaints about racial harassment

 6    and discrimination.

 7
 8                                                     IV.

 9                                          CAUSES OF ACTION

10                                       FIRST CAUSE OF ACTION

11       RETALIATION IN VIOLATION OF CALIFORNIA GOVERNMENT CODE § 12940

12                             (ENGAGING IN A PROTECTED ACTIVITY)

13                                         (Against All Defendants)

14           14.     The allegations of prior paragraphs are realleged and incorporated herein by

15    reference.

16           15.     At all times herein mentioned, FEHA was in full force and effect and was binding

17    on Defendants. These statutes require Defendants refrain from discriminating against an

18    employee’s race. Within the time provided by law, Plaintiff filed a complaint with the DFEH, in

19    full compliance with administrative requirement, and received a right-to-sue letter.

20           16.     As detailed above, KELLY and PHILLIPS retaliated against Plaintiff for engaging

21    in the protected activity of complaining about racial discrimination toward Mr. Velasquez.

22           17.     As a result of KELLY and PHILLIPS retaliation, Plaintiff has suffered an adverse

23    employment action (i.e. termination of employment) and as a result has incurred lost wages.

24           18.     As a proximate result of KELLY and PHILLIPS’s retaliation against Plaintiff for his

25    engagement in protected activities, Plaintiff has suffered and continues to suffer from severe

26    emotional distress.

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 1             19.     KELLY and PHILLIPS’s retaliation against Plaintiff for engagement in a protected

 2    activity was done intentionally, in a malicious and oppressive manner, entitling Plaintiff to

 3    damages.

 4             20.     Plaintiff has incurred and continues to incur legal expenses and attorney’s fees in a

 5    sum according to proof which is entitled under the FEHA to collect if considered the prevailing

 6    party.

 7                                      SECOND CAUSE OF ACTION

 8                   WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

 9                                          (Against All Defendants)

10
11             21.     The allegations of prior paragraphs are realleged and incorporated herein by

12    reference.

13             22.     Plaintiff believes and thereon alleges that the retaliation for engaging in the above

14    stated protected activities was a substantial factor in KELLY and PHILLIPS’ conduct as alleged

15    above.

16             23.     The above said acts of KELLY and PHILLIPS constitute violations of the FEHA

17    and the public policy of the State of California embodied therein as set forth above.

18             24.     As a result of the adverse employment action (termination), Plaintiff has incurred

19    lost wages.

20             25.     Under the cause of action, Plaintiff seeks an award of emotional distress and

21    punitive damages.

22                                                       V.

23                                           PRAYER FOR RELIEF

24             Wherefore, Plaintiff prays for relief and judgment against Defendants and DOES 1-10, as

25    follows:

26             1.      For compensatory general damages including, losses arising from mental and

27    emotional distress and other special and general damages according to proof at trial;

28             2.      For lost past and future wages and benefits;

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 1          3.      Interest;

 2          4.      For attorneys’ fees and costs;

 3          5.      For restitution;

 4          6.      For injunctive relief including, reinstatement of position;

 5          7.      For punitive damages;

 6          8.      Any other relief deemed appropriate by the Court.

 7                                                        VI.

 8                                       DEMAND FOR JURY TRIAL

 9          Plaintiff hereby requests a trial by jury.

10
11                                                   LYON LEGAL, P.C.
12
      Dated: May 13, 2021              By:           /s/Devon M. Lyon
13                                                   DEVON M. LYON, ESQ.
                                                     MATTHEW B. PEREZ, ESQ.
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15                                                   Attorneys for Plaintiff,
                                                     SOCHETRA SAO
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